Case 1:15-cv-05871-KPF Document 15

 

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

x
KELLY PRICE

Index No.: __15-CV-05871
PLAINTIFF JURY TRIAL DEMANDED
-against-

DETECTIVE LINDA SIMMONS Individually,
and as an employee of the New York City Police

Department, ADA MARIA STROHBEHN and
ADA KENYA WELLS Individually,

and as employees of the New York County
District Attorney’s Office, THE CITY OF NEW YORK,
Deputy DA Audrey Moore, ADA Larry Newman, ADA

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Laura Higgins nee Richendorfer, ADA Christina pe cz
Maloney, ADA Patricia Bailey, ADA Susan Roque and a ~ oF
DA Cyrus Vance Jr., as employees of the New York , t oy
County District Attorney’s Office, Inspector Obe of a or ns
the New York City Police Department, in her capacity z= = ot
as an employee of the New York City Police Department, “oe “Fy
Rose Pierre-Louis in her capacity as the Commissioner cn =
of Domestic Violence of the City of New York, . Oo orn

DEFENDANTS,

 

 

Notice of Plaintiff's Time Frame in Response to Order to Amend Complaint Posted May 5, 2016.

May 5, 2016

Dear Hon. Preska:

By order Posted to me on March 30, 2016 you requested that I amend my complaint for the
above-noted docket. In your order you instructed me file my amended complaint within 30 (thirty) days
of the date of your order. The order was mailed on April 5" and accordingly the pro se office has
informed me that I must turn in my response to you 30 days from date of receipt of your order. I received

your order on April 9, 2016 as it was posted by your clerk’s office on April 5, 2016. Following | wanted
 

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to let you know that I haven’t ignored your instructions to turn in my revised complaint but that I need to
take the entire 30 days you have offered.

I’ve been getting a lot of help and following your advice in rewriting and the extra few days will
allow me time to tighten up my voluminous filing and organize my exhibits into a presentable bundle.

I know that you are very careful about your deadlines and I wanted you to know what I was doing
so that you didn’t close my case before I could answer your gracious order. My PTSD (Exhibit #1) flares
up each time I dig into my files or turn the pages of my complaint as this material is very triggering for

me and I’ve been working set against this struggle

Thank you Judge Preska: ‘your stewardship and patience is appreciated by me and the scores of

survivors I am fighting for.

Yqurs, Kelly Price

Date: May 5, 201
Sworn to before me on this 5th day of May, 2016

Jeffrey Richard Senter
a, Public State of New Yorig
/ No. 02SE6214827
, | Qualified In Queens County
Wy), Ahk Commission Expires 12/21/2018°7
Notary Public “fe? &
